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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                                        ORDER
              v.                                                        14-CR-79

JEFFREY COLEMAN,

                     Defendant.



       The Court (Hon. Richard J. Arcara) referred this case to United States Magistrate

Judge H. Kenneth Schroeder, Jr., for all pretrial matters, including those that a

magistrate judge may hear and determine, pursuant to 28 U.S.C. § 636(b)(1)(A), and

those that a magistrate judge may hear and thereafter file a report and

recommendation, pursuant to § 636(b)(1)(B). See Text Order of Referral dated May 1,

2014. This case has since been transferred from Judge Arcara to the undersigned.

       Defendant Jeffrey Coleman (“defendant”) is charged, along with four other

individuals, with conspiracy to possess with intent to distribute, and to distribute, heroin;

maintaining a drug premises; and possession of 100 grams or more of heroin with intent

to distribute. See Docket Item 16.

       On September 22, 2014, the defendant moved to dismiss Counts 2 and 3 of the

Indictment, arguing that “there was insufficient evidence to support those charges.” See

Docket Item 26 at 2, 5; see also Docket Item 33. On December 29, 2015, Magistrate

Judge Schroeder issued a Report, Recommendation and Order that recommended

denying the defendant’s motion to dismiss. See Docket Item 72. The parties did not file
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any objections to the Report, Recommendation and Order, and the time to do so has

expired.

       A district court may accept, reject, or modify, in whole or in part, the findings or

recommendation of a magistrate judge. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P.

59(b)(3). The district court is required to conduct a de novo review of those portions of

a magistrate judge's recommendation to which objection is made. 28 U.S.C.

§ 636(b)(1); Fed. R. Crim. P. 59(b)(3). But the statute does not require the district court

to review the recommendation of a magistrate judge to which no objections are

addressed. See Thomas v. Arn, 474 U.S. 140, 149-50 (1985). Moreover, the failure to

make a timely objection to a report and recommendation “waives a party’s right to

review.” Fed. R. Crim. P. 59(b)(2); see also United States v. Ballares, 317 F. App’x 36,

37-38 (2d Cir. 2008) (district court was entitled to rely on Fed. R. Civ. P. 59, which

“explicitly extend[ed] the waiver rule to criminal cases”).

       Nevertheless, “the district judge retains the authority to review any magistrate

judge’s decision or recommendation whether or not objections are timely filed.”

Advisory Committee Notes to Fed. R. Crim. P. 59 (2005 Adoption). Accordingly, this

Court has carefully reviewed Magistrate Judge Schroeder’s Report, Recommendation

and Order as well as the parties’ submissions.

       Based on that review and the absence of any timely objections, this Court

accepts and adopts the magistrate judge’s recommendation in its entirety. As stated in

Magistrate Judge Schroeder’s Report, Recommendation and Order, the defendant

offered nothing of substance to support his motion to dismiss Counts 2 and 3 of the

indictment. See Docket Item 72 at 2. Therefore, for the reasons stated in the Report,
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Recommendation and Order (Docket Item 72), the defendant’s motion to dismiss

Counts 2 and 3 is, in all respects, denied.

       IT IS SO ORDERED.

       Dated: January 19, 2016
              Buffalo, New York

                                              s/ Lawrence J. Vilardo
                                              LAWRENCE J. VILARDO
                                              UNITED STATES DISTRICT JUDGE
